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                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 7                     WESTERN DISTRICT COURT OF WASHINGTON
 8
     Re                             )
 9
                                    )                In Chapter 13 Proceeding
10   ISRAEL J. MCKINNEY              )               No. 18-40294-MJH
                                    )
11                                  )                Order Allowing Debtor(s) to
                   Debtor(s)        )                Modify Mortgage with
12                                  )                MIDLAND MORTGAGE
                                    )
13   ______________________________ )
14   It is ordered that the Debtor(s) may modify the Mortgage with Midland Mortgage
15
     pursuant to the terms in their preapproval letter dated 1/21/2020 with a new principal
16
     balance of $134,063.27 at a 4.250% interest rate with principal and interest of $565.23
17
     and total estimated payment including escrow payments of $1014.07 and a maturity
18
     date of 01/01/2048.
19

20                                             ///end of order///
21
     Presented by:
22

23   /s/ Ellen Ann Brown
     Ellen Ann Brown WSB 27992
24   Attorney for Debtor

25
                                                                    BROWN and SEELYE PLLC
                                                                      744 South Fawcett Ave.
                                                                        Tacoma, WA 98402
                                                                           253-573-1958
